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UNITED STATES DISTRICT COURT os LAO

FOR THE DISTRICT OF MARYLAND 2hi2Noy -7 PH 2:96
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UNITED STATES OF AMERICA, ) Criminal No: OC (A- (K— oSay
v. ) 18 U.S.C. § 1349 By KX aca.
) (Conspiracy) ee
ABDUL AMAN, )
Defendant. ) 18 U.S.C. § 1031(a)
) (Major Fraud against the United States)
)
) 18 U.S.C. § 981(a)(1)(C), 28 U.S.C.
) 2461(c)
) (Criminal Forfeiture)
INDICTMENT F l L E B
The Grand Jury charges that: DEC - 4 2018
; Clerk, U.S. District and
General Allegations _ Bankruptcy Courts
At all times relevant to this Indictment, unless a specific date is noted:
Background
1. Defendant Abdul Aman (“Aman”) was employed as a linguist recruiter by Government

Contractor #1 from on or about May 17, 2010 through on or about May 23, 2012. Government
Contractor #1 provided Aman with the email account aaman@ redacted].com during his
employment.

2: Government Contractor #1 is a professional services company currently headquartered in

Fairfax, VA.

3. Co-conspirator #1 is a close associate of Aman who is proficient in the Dari and Pashto
languages.
4, Mission Essential Personnel (“MEP”) is a government contractor headquartered in New

Albany, Ohio.
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~ 5, Government Contractor #2 is a language services provider headquartered in Westerville,

Ohio.

6. On or about September 7, 2007, the United States Army awarded contract W911W4-07-

D-0010 to MEP to supply qualified linguists to serve in support of United States military -
operations in Afghanistan (the “Contract”). The initial value of the Contract was $703,000,000.
7, In or about 2008, MEP awarded subcontract MEP-08-0001 to Government Contractor #1
to identify and recruit qualified Linguists that were proficient in the Dari and Pashto languages
for the Contract.

8. In or about February 2008, MEP also engaged Government Contractor #2 as a
subcontractor on the Contract to administer independent language tests to the linguist candidates
identified by Government Contractor #1. This independent testing was conducted during short,

telephone interviews, known as Oral Proficiency Interviews (“OPIs”), which were conducted to

" ensure that linguist candidates identified by Government Contractor #1 met minimum

proficiency standards in the Dari and Pashto languages.

9. During the recruiting process, Government Contractor #1 recruiters collected personal
information from linguist candidates—name, phone number, street address, email address, social
security number, and date of birth—and shared it with Government Contractor #2, ch used
this information to verify the identity of linguist candidates during the OPI tests.

10. Linguist candidates that met the minimum proficiency standards on the OPI test were
sent to the MEP's Pre-Deployment Processing Center (“PDPC”) in Linthicum, Maryland, where

they underwent additional testing and training before being deployed to Afghanistan.

Government Contractor #1 Financia! Incentives
 

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11. | Government Contractor #1 hired recruiters, including Aman, to identify and recruit
qualified linguist. candidates for positions on the Contract.
12. Government Contractor #1 recruiters were paid a base salary, and could. achieve bonuses
of between $250 and $2,500 based on how far through a multi-step vetting process, which:
included PDPC, their linguist candidates progressed (“Recruiting Bonuses”).
13. Government Contractor #1 also paid bonuses to third-parties that referred linguist
candidates to the company’s recruiters (“Referral Bonuses”). Referral Bonuses of between
* $3,000 and $7,000 were paid directly to the referrer of a linguist candidate that was hired and
was deployed to Afghanistan.
. COUNT-ONE
Conspiracy to Commit Wire Fraud and Mail Fraud
(18 U.S.C. § 1349)

14. Paragraphs | through 13 of the General Allegations are-re-alleged and incorporated by .
reference as if set out in full.
15. From in or.about March 2011, to in or about May 2012, in the District of Maryland and
elsewhere, Aman knowingly and intentionally combined, conspired, confederated, and agreed
with co-conspirator #1 and others known and unknown to the Grand Jury to commit certain
offenses against the United States, that is:

a. to devise and intend to devise a scheme and artificé to defraud the United States and
Government Contractor #1, and to obtain money and property by means of materially
false and fraudulent pretenses, representations, and promises, and to transmit and
cause to be transmitted certain wire communications in interstate and foreign
commerce for the purpose of executing the scheme, in violation of Title 18, United

States Code, Section 1343; and
 

 

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| b. to devise and intend to devise a scheme .and artifice to defraud the United States and
Government Contractor #1, and to obtain money and property by means of materially
false and fraudulent pretenses, representations, and promises, and to cause'to be
' delivered by mail, at the place at which it was directed to be delivered by the person
.to whom.it was addressed for the purpose of executing the scheme, in violation of
Title 18, United States Codé, Section 1341.
| Object of the Conspiracy
16: It was the object of the conspiracy for Aman to fraudulently obtain Recruiting Sonuses
from’Government Contractor #1 by falsifying OPI tests for linguist candidates that.could not
' meet minimum proficiency standards under the Contract, and. to fraudulently obtain Referral
Bonuses from Government Contractor #1. by-supplying Government Contractor #1 with false
information regarding prospective linguist éandidates for the Contract.
| Manner and Means of the Conspiracy
17, The manner and means by which Aman and co-conspirator #1, and others, would and did
carry out the conspiracy included, but were not limited to, the following: |
a. Aman would knowingly recryit linguist candidates that did not meet the minimum
language proficiency standards in Pashto and/or Dari under the Contract; ,
b. In or about March 2011, Aman and co-conspirator #1 agreed that co-conspirator
#1 would take OPI tests on behalf of Aman’s linguist candidates that did not meet the |
minimum language proficiency standards;
C To enable cozconspirator #1 to impersonate candidates during OPI tests, Aman
would supply co-conspifator #1, often by email, with candidatés’ biographical

information as. well as the date and time of candidates’ OPT tests;
 

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d. Aman would provide Government Contractor #1 and Government Contractor #2
with co-conspirator #1’s telephone number in place of the linguist candidates’ telephone
numbers or would collect Ke wndidates" cellular telephones and provide them to co-
conspirator #1 for using during the candidates’ OPI test; |

é. When Government Contractor #2 testers would call the telephone number .
provided for a linguist candidate to administer the OPI test, co-conspirator #1 would. use
the linguist candidate’s personal information to impersonate the candidate and pass the
OPI test;

f. ‘The linguist candidate (for whom co-conspirator #1 had passed an OPI test)
would be sent to PDPC.in Linthicum, Maryland, for additional language testing and
training for potential deployment to Afghanistan; |

g. Aman-received Recruiting Bonuses from Government Contractor #1 based on
linguist candidates that Government Contractor #1 hired because of falsified OPI tests;
h, To obtain Referral Bonuses to which he was not entitled, Aman would provide
Government Contractor #1 with false information regarding the referrers of certain of his
linguist candidates;

i. - In place of a candidate’s true referrer, Aman would falsely represent, or cause to
be represented, to Government Contractor #1 that a different person—typically one of
Aman’s family members or close associates—had referred the candidate, thereby _
claiming Referral Bonuses for the false referrers;

j. Government Contractor #1 would send Referral Bonus checks by U.S. Mail made

out to the false referrers on the basis of the false representations;

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k. Aman would direct the false referrers to provide him with the proceeds from the
Referral Bonus checks.
Overt Acts

In furtherance of the conspiracy and to effect its objects, the following overt acts, among -

others, were committed in the District. of Maryland and elsewhere:

a. On or about March 30, 2011, Aman provided co-conspirator #1 with the personal
information of.4 linguist candidate;

b. | On or about May 27, 2011, Aman provided co-conspirator #1 with the personal |
information of a linguist candidate, and indicated that the lingnist candidate’s OPI test
would occur on May 28, 2011 between 11 a.m. and 1 pam.;

c. On or-about June 11, 2011, Aman provided co-conspirator #1 with the personal .
information of.a linguist candidate, and indicated that the linguist candidate’s cellphone
was available to co-conspirator #1;

d. On or about June 29, 201.1, Aman provided co-conspirator #1 with the personal
information of a linguist candidate, and indicated the linguist candidate's OPI test would
occur on June 29, 2011 bétween 12 p.m. and 2 p.m.;

e. On or about July 19, 2011, Aman provided co-conspirator #1 with the personal
iriformation of.a linguist candidate; |

f. On or about August 11, 2011, co-conspirator #1 sent an.email at Aman’s behest
requesting a Referral Bonus for a linguist candidate that he had not in fact referred to
Government ‘Contractor #1.

g. On or about September 23, 2011, Aman provided co-conspirator #1 with the

personal information of a linguist candidate;
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h. On or about October 2, 2011, Aman provided co-conspirator #1 with the personal
information of a linguist candidate, and indicated that the Jinguist candidate’s OPI test
would occur on October 2, 201 1 between I p.m. and3 p.m; |

i. ‘On or-about October 13, 2011, Aman provided co-conspirator #1 with the
personal information of a linguist candidate, and indicated that the linguist candidate’s
OPI test would. occur on October 14, 2011 between | p.m. and 3 p.m.;

j. On or about September 30, 2011, Aman asked ‘a Government Contractor #1
employee to schedule a linguist candidate’s OPI test for October 2, 2011, and provided
the Government Contractor #1 employee with co-conspirator #1’s phone number in place
of the linguist canididate’s;

k. On or about October 2,'201.1, Aman provided co;conspirator #1 with the personal

information of a linguist candidate;

‘1. On or about October 26, 2011, Aman provided co-conspirator #1 with the

personal information of a linguist candidate, and indicated that the linguist -candidate’s
OPT test would occur on October 98,201 1 between 4 p.m. and 6 p.m.;

m. On or.about November 12, 2011, Aman provided co-conspirator #1 with the

* personal information of a linguist candidate, and indicated that the linguist candidate’s

OPI test would.occur on November 12, 2011 between 4 p.m. and 6 p.m.;

n. On or-about April.29, 2012, Aman provided-co-conspirator #1 with the personal

,

information of a linguist candidate;

All in violation of Title-18, United States Code, Section 1349.
 

 

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COUNT TWO
Major Fraud against the United States
(18 U.S.C. § 1031(a)}
19: Paragraphs 1 through 13 of the General Allegations are re-alleged and incorporated by
reference as if set out in full.
Scheme and Artifice
20. From in or about March 2011 and in or about May 2012, in the District of Maryland and

elsewhere, Aman and others, known and unknown to the. Grand Jury, in.a.contract with the

United States, where the amount of the contract was $1,000,000 or more, did knowingly execute

‘ and attempt to execute a scheme and artifice with the intent: (a) to defraud the United States; and

(b) to obtain money and property by meaiis of materially false and fraudulent pretenses,
representations, and promises.
Purpose of the Scheme and Artifice
21. + Paragraph 16 of Count One is re-alleged and incorporated by réference.as if set out in
full.
Manner and Means of the Scheme and Artifice
22. Paragraphs 17a through 17k and 18a through 18n of Count One are re-alleged and
incorporated by reference as if set out in full. |
Execution of the Scheme and Artifice .
23. Between on er about March 2011 and in or about May 2012, within the District of .
Maryland and elsewhere, Aman and others known and unknown tothe Grand Jury, did
knowingly execuite and attempt to execute the scheme and artifice-as described above, with the

intent td defraud the United States of America, and to obtain money and property by means of
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false and fraudulent pretenses, representations, or promises, to wit: by causing co-conspirator #1
to take OPI tests-on behalf of linguist candidates that were deployable to Afghanistan.
All in violation of Title 18, United States Code, Section 1031 (a).
FORFEITURE ALLEGATION
The Grand Jury further charges that: |
1. Pursuant to 18 U.S.C. § 98 k(a)(1)(C) and 28 U.S.C. §:2461(c), upon conviction of an
offense in violation of 18 U.S.C. § 1349, as alleged in this indictinent, the defendant shall forfeit
to the United States of Ametica all property, real and personal, which constitutes and is derived
from proceeds traceable to the scheme to defraud. The property to be forfeited. includes, but is
not limited to,a money judgment in the amount of the total loss caused by the defendant’s
criminal conduct, as.determined by the Court at sentencing,
2. If any of the. property described above, as a result of any act or omission of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or,
e. has been commingled with other property which cannot be divided without
difficulty, the United States of America shall be ‘entitled to forfeiture of substitute
property:pursuant to Title 21, United States Code, Section 853(p), as incorporated

by Title 28, United States Code, Section 2461(c).
 

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FOREFERSON

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SANDRA MOSER | . fr d- 2018
te ACTING CHIEF, FRAUD SECTION -
CRIMINAL DIVISION

“ UNIT. ED STATES DEPARTMENT OF JUSTICE

rl ‘By:
- MICHAEL P. MCCARTHY
TRIAL ATTORNEY, FRAUD ‘SECTION

 

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